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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                ROCK HILL DIVISION

GARY BURRELL and ANTOINE LEE,                              C.A. No.: 0:18-cv-00508-DCC
on behalf of themselves and others
similarly situated,
                                                            DEFENDANT’S
                      Plaintiffs,                    MEMORANDUM IN OPPOSITION
                                                     TO PLAINTIFFS’ MOTION FOR
        v.                                         CONDITIONAL CERTIFICATION AND
                                                        ISSUANCE OF NOTICE
GUSTECH COMMUNICATIONS, LLC,                         PURSUANT TO 29 U.S.C. § 216(B)

                      Defendant.



       Defendant Gustech Communications, LLC (hereinafter “Gustech”), by and through its

undersigned attorneys, respectfully submits this Opposition to Plaintiffs’ Motion for Conditional

Certification and Issuance of Notice Pursuant To 29 U.S.C. § 216(b). (ECF No. 7). Plaintiffs’

Motion seeks conditional certification of a proposed collective under the Fair Labor Standards

Act of 1938, 29 U.S.C. §201, et. seq. (“FLSA”), despite the existence of other FLSA cases

involving Gustech that may overlap with, or impact the viability of, claims by the proposed

collective members in this case.

       As outlined below, Plaintiffs’ Motion must be denied in favor of additional investigation

before notice can be issued. Alternatively, if the Court determines that issuance of notice is

appropriate in this matter, Gustech respectfully requests that the Court provide the parties a

period of two weeks from the date of the order to meet and confer regarding the terms of the

notice and the notice process, because Plaintiffs’ proposals are overly broad and unduly

burdensome.
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                                              FACTS

       Plaintiffs, Gary Burrell and Antoine Lee (hereinafter “Plaintiffs”) have filed this action

individually and on behalf of all persons similarly situated against Gustech seeking relief under

the FLSA, the North Carolina Wage and Hour Act, N.C. Gen. Stat. § 95-25.1 et. seq.

(“NCWHA”), the South Carolina Payment of Wages Act, S.C. Code Ann. §41-10-10 et seq.

(“SCPWA”), and the common law.            Plaintiffs allege that they and other similarly situated

Satellite Technicians were misclassified by Gustech as independent contractors when they

legally were Defendant’s employees under the FLSA, the NCWHA, and the SCPWA. As a

result of this alleged misclassification, Plaintiffs claim that they and others similarly situated are

entitled to overtime pay when they worked more than 40 hours in a work week, that Gustech

made unauthorized deductions from their compensation, and that these alleged unauthorized

deductions sometimes brought their pay below the hourly minimum wage.

       Plaintiffs bring their claims for overtime compensation and alleged minimum wage

violations as an opt-in collective action pursuant to the FLSA, 29 U.S.C. § 216(b). In their

Complaint, the Plaintiffs define the opt-in litigants as follows:

       All Satellite Technicians who were misclassified as independent contracts while
       performing installation work for Gustech Communications, LLC, throughout the
       United States within three years prior to filing written consent to join this case or
       During any period while the statute of limitations is tolled under applicable law
       (the “FLSA Class”).

In their Motion for Conditional Certification, however, Plaintiffs seek conditional certification of

a collective action on behalf of the following:

       All individuals who worked as technicians for Gustech Communications in the
       States of Florida, North Carolina, South Carolina, or Texas during the past three
       Years and who were misclassified as independent contractors.

Gustech filed an answer denying that Plaintiffs or any other Satellite Technicians with which it

has contracted have been misclassified. Moreover, Gustech has denied that Plaintiffs or others
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similarly situated are owed overtime compensation. Gustech further denies that it has violated

the minimum wage laws or that it has violated the FLSA, the NCWHA or the SCPWA in any

respect. As outlined below, Plaintiffs’ request for conditional certification must be denied.

                                            ARGUMENT

I.      Conditional Certification Is Not Automatic.

        Conditional certification under 29 U.S.C. § 216(b) is not automatic. See 29 U.S.C. §

216(b). Determining whether an employee and putative class members may proceed collectively

under the FLSA requires an evaluation as to whether the employees are “similarly situated.” 29

U.S.C. § 216(b). Where, as here, the parties have not engaged in pre-certification discovery, the

procedure to certify a collective action has evolved into a two stage process. Pelczynski v.

Orange Lake Country Club, Inc., 284 F.R.D. 364, 367 (D.S.C. 2012); see also MacGregor v.

Farmers Ins. Exchange, 2:10-CV-03088, 2011 WL 2981466, *2 (D.S.C. July 22, 2011). The

first stage, referred to as “notice” or “conditional certification,” is initiated by the plaintiff filing

a motion for court-supervised notice to the putative class members. Pelczynski, 284 F.R.D. at

367-68. ). If the district court grants conditional certification and determines that notice may be

sent to putative class members, the parties proceed through discovery to the “second stage.” Id.

at 368. At the “second stage” the court makes a final determination on the “similarly situated”

issue after the conclusion of discovery. Id.

        At the first stage of notice, “courts should not exercise their discretion to facilitate notice

unless the facts and circumstances of the case illustrate that a class of similarly situated

aggrieved employees exists.” Purdham v. Fairfax Cnty. Pub. Sch., 629 F. Supp. 2d 544, 547-48

(E.D. Va. 2009); MacGregor, 2011 WL 2981466, at *2.                 Plaintiffs “ha[ve] the burden of

demonstrating that notice is appropriate,” and that burden, while “not onerous,” is also “not

invisible.” Purdham, 629 F. Supp. 2d at 548. The two-stage certificate approach “lends itself to
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an ad hoc analysis on a case-by-case basis”. Simmons v. Pryor’s Inc., 2011 U.S. Dist. LEXIS

81806, at *5-6, 2011 WL 3158724. (citing Hoffman-La Roche, Inc. v. Sperling, 493 U.S. 165,

169, 110 S. Ct. 482, 107 L. Ed. 2d 480 (1989)). Indeed, Plaintiffs “must demonstrate some

identifiable factual nexus which binds the named and the potential class members together . . . .

Mere allegations will not suffice; some factual evidence is necessary.” MacGregor, 2011 WL

2981466 at *2; see also Pelczynski, 284 F.R.D. at 368.       Moreover, a “plaintiff must do more

than show the mere existence of other similarly situated persons, because there is no guarantee

that those persons will actually seek to join in the lawsuit.” Ali v. Sugarland Petroleum et al., No.

4:09-cv-0170, 2009 WL 5173508, *2 (S.D. Tex. Dec. 22, 2009) (quotations omitted). In fact,

“‘[e]vidence that other similarly situated individuals desire to opt in to the litigation’ … is

required.” Pelczynski, 284 F.R.D. at 368; see also Parker v. Rowland Express, Inc., 492 F. Supp.

2d 1159, 1166-67 (D. Minn. 2007) (“It is not unreasonable to require Plaintiffs to submit

evidence of [others] who desire to join this litigation before conditional certification is granted”

given plaintiffs’ five-year tenure with defendant).

       The “Supreme Court has emphasized that the goal of § 216(b) is efficiency, and that a

court has ‘a managerial responsibility … to assure that the [joinder of additional parties] is

accomplished in an efficient and proper way.’” Pelczynski, 284 F.R.D. at 367 (citing Hoffmann-

La Roche, Inc. v. Sperling, 493 U.S. 165, 170, 110 S.Ct. 482 (1989)). Therefore, “[a]s a matter

of sound case management, a court should, before offering [to assist plaintiff in locating

additional plaintiffs], make a preliminary inquiry as to whether a manageable class exists . . . .

The courts, as well as practicing attorneys, have a responsibility to avoid the ‘stirring up’ of

litigation through unwarranted solicitation.” D'Anna v. M/A-COM, Inc., 903 F. Supp. 889, 894

(D. Md. 1995) (internal citations omitted). In determining whether a manageable class exists,



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“the court should be guided by the remedial purpose of the FLSA” which is the “efficient

resolution in one proceeding of common issues of law and fact arising from the same alleged

discriminatory activity.” Archer v. Freedmont Mortg. Corp., 2013 WL 93320, at *3 (D. Md. Jan.

7, 2013)(quoting Hoffmann-LaRoche, 493 U.S. 165, 170).              Accordingly, certification “is

inappropriate where multiple claims cannot be adjudicated efficiently because they would

require ‘substantial individualized determinations for each class member.’” Id. at *3 (citing Syrja

v. Westat, Inc., 756 F. Supp. 2d 682, 686 (D. Md. 2010) (denying conditional certification where

“adjudication of multiple claims in this case would require the parties, the Court, and perhaps

eventually a jury, to engage in an unmanageable assortment of individualized factual inquiries”).

II.    The Possible Overlap Between Members Of This Purported Collective And
       Plaintiffs In Earlier-Filed FLSA “Misclassification” Cases Requires Additional
       Investigation Before Notice Can Be Issued.

       Gustech has been and is still involved – both directly as a defendant and indirectly as a

subpoenaed sub-contractor in the chain – in several pieces of litigation across the county that

may impact whether the members of this purported collective have viable FLSA claims to pursue

against Gustech in this action. As outlined below, it is entirely possible that the individuals

whom Plaintiffs seek to represent and include in this action are already part of other actions

arising out of their alleged employment with Gustech and, in some instances, may have already

resolved any FLSA claims arising out of that relationship. This overlap necessitates a pause to

conduct additional investigation before a collective is conditionally certified – not only because a

rush to certify would render the purported collective unmanageable, but also because certain

purported members’ participation in overlapping litigation raises legitimate questions about

whether the proposed collective members are similarly situated in the first instance.




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       At the very least, the possibility of overlap among the cases described below will require

this court to make a series of individualized determinations that render resolution on a

representative basis unmanageable. Where “individualized determinations are more likely to

predominate, a collective action would hinder, rather than promote, efficient case management.”

Sodekson v. E. Coast Rest. & Nightclubs, LLC, No. 4:15-CV-02711, 2016 WL 4613386, at *5

(D.S.C. Sept. 6, 2016); see Gromek v. Big Lots, Inc., No. 10-CV-4070, 2010 WL 5313792, at *4-

5 (N.D. Ill. Dec. 17, 2010) (declining first-stage conditional certification because, even though

plaintiffs satisfied the similarly situated requirement, the case would be unmanageable). Indeed,

cases are unmanageable as collective actions where they involve fact-intensive inquiries and

individualized defenses that would require hundreds of mini-trials. Beecher v. Steak N Shake

Operations, Inc., 904 F. Supp. 2d 1289, 1293 (N.D. Ga. 2012) (denying conditional certification

because the “case could result in . . . mini-trials” regarding corrections made to time and tip

records of putative class members). Such is the case here.

       A.     Several Previously-Filed Cases Potentially Resolved Any Claims Of Putative
              Members In This Case Arising Out Of Their Work Relationship With
              Gustech.

       Plaintiffs’ putative collective is comprised of Gustech “misclassified” technicians in four

states, including South Carolina and Florida. Gustech is aware of at least two (and perhaps

more) FLSA lawsuits already pending in South Carolina and Florida that were brought by

plaintiffs who allege Gustech employed them as technicians and misclassified them as

independent contractors working for a sub-contractor and DirectTV. See Alston v. DIRECTV,

Inc., a case pending before Judge Childs in the District of South Carolina (Civil Action No.:

3:14-cv-04093-JMC) and Buttita v. DIRECTV, LLC, a case pending in the Northern District of

Florida (Civil Action No. 3:14-cv-00566-MCR-EMT).            Gustech is not a named party in those


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cases and is not privy to insider details, but it is certainly probable that some of the plaintiffs

participating in those cases who had a relationship with Gustech would also be members of

Plaintiffs’ putative class in this case. Judge Childs recognized the relationship when she ordered

Gustech in Alston to produce subpoenaed documents:

       As relevant here, [plaintiff] Ryman has alleged that he was engaged in
       employment with DIRECTV through Gustech Communications, LLC, Inc.
       ("Gustech"), a subcontractor of MasTec, located in South Carolina. (See ECF No.
       125 at 65; ECF Nos. 70, 70-1, 70-2, 70-3, 70-4.) A similar FLSA action, Buttita v.
       DIRECTV, LLC, No. 3:14-cv-00566-MCR-EMT, is pending in the U.S. District
       Court for the Northern District of Florida. (See ECF No. 70 at 1; see also ECF
       Nos. 70-1, 70-2.) Plaintiffs aver that several of the named plaintiffs in Buttita
       have also alleged that they engaged in employment with DIRECTV through
       Gustech. (See ECF No. 70 at 2.) Gustech is not a party to either the instant
       action or the Buttita action.

Alston, 2017 U.S. Dist. LEXIS 67330 *2 (D.S.C. May 03, 2017)(emphasis added).

       Moreover, it appears from the Alston docket sheet that numerous plaintiffs in over 40

related cases nationwide have settled FLSA claims arising out of their purported

misclassification as independent contractors – presumably including some whose alleged

employment originated with Gustech, although that is not public information.                  (See

“Supplemental Joint Status Report Following Global Mediation And Joint Motion To Continue

To Stay Case,” ECF No. 184 in Alston v. DIRECTV, Inc., Civil Action No.: 3:14-cv-04093-JMC,

attached hereto as Ex. A). The parties in Alston informed the Court on March 12, 2018:

       As the Court knows, after several weeks of ongoing discussion and negotiations,
       the parties reached agreement on material terms and executed a global settlement
       term sheet on January 3, 2018, which provides a framework for the resolution of
       over 40 related actions pending in federal courts and arbitrations across the
       country (including this case). The global settlement term sheet provides a process
       for finalizing individual case settlement agreements across the related actions.
       Additionally, given the scope of the proposed global settlement, the parties have
       agreed to coordinate and sequence the process of seeking settlement approval
       across the more than 40 related actions implicated by the global settlement (with
       certain cases proceeding ahead of others by agreement).



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(Ex. A, “Supplemental Joint Status Report Following Global Mediation And Joint Motion To

Continue To Stay Case,” p. 1).       Gustech has not seen the “global settlement term sheet”

referenced in the above filing to determine whether any of its independent contractors are

included in the global settlement, but at least some of the plaintiffs in Alston and Buttitta alleged

they were Gustech employees.        Moreover, at least one of the five “Critical Cases” whose

settlement was prioritized pursuant to the “global settlement term sheet” originated in the

Southern District of Florida, one of the states Plaintiffs purport to include in their collective in

this case. (Id., p. 2).   And there are countless other independent contractors in jurisdictions

unknown who apparently also have resolved their FLSA misclassification claims in the “more

than 40 related actions implicated by the global settlement.” (Id., p. 2).

       Judicial efficiency is not advanced by rushing conditional certification in this case

without knowing which global FLSA settlements have already resolved misclassification claims

arising out of a working relationship with Gustech.

       B.       A Collective Action Against Gustech Was Filed In Texas Before This Case
                And Overlaps With The Putative Collective In This Case.

       Moreover, a technician-misclassification FLSA collective action against Gustech is

already pending in the Northern District of Texas, having been filed in November 2017. (See

Complaint filed in Robert Westberry and Jared Stubblefield, Individually and on behalf of all

others similarly situated under 29 USC 216(b), Civil Action No. 3:17-cv-03162-D (N.D. Texas),

attached hereto as Ex. B). A quick comparison of the proposed FLSA class definition in

Westberry/Stubblefield and the one in this case reveals the overlap:

            •   Westberry/Stubblefield:

       All satellite service and repair technicians who worked for GusTech
       Communications, LLC at any time within the three (3) year period preceding the
       filing of this lawsuit through the final disposition of this matter, and were

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        classified as independent contractors and did not 1) receive the federally
        mandated minimum wage of $7.25 an hour for every hour worked; or 2) receive
        overtime at one-and-one-half the regular rate for all hours worked over forty (40)
        in each workweek. (Ex. B, Westberry/Stubblefield Complaint, p. 11).

           •   This Case:

        All Satellite Technicians who were misclassified as independent contracts while
        performing installation work for Gustech Communications, LLC, throughout the
        United States within three years prior to filing written consent to join this case or
        During any period while the statute of limitations is tolled under applicable law
        (the “FLSA Class”). (ECF No. 1, p. 3).

It is clear that the Westberry/Stubblefield Complaint – like the Complaint in this case –

contemplates a nationwide FLSA collective of Gustech technicians, although the Motion to

Conditionally Certify the FLSA Collective recently filed in the Westberry/Stubblefield matter

appears limited to Gustech technicians in Texas.         (See Plaintiffs’ Motion for Conditional

Certification filed in Westberry/Stubblefield, attached hereto as Ex. C).       At most, all of the

members of Plaintiffs’ proposed collective in this case are putative members of the collective in

Westberry/Stubblefield. At the very least, all of Plaintiffs’ Texas putative members in this case

are putative members in Westberry/Stubblefield. For this reason, conditional certification is not

warranted either.

III.    The Notice Requested By Plaintiffs Is Overly Broad And Burdensome

        Alternatively, if the Court determines that issuance of notice is appropriate in this matter,

Gustech respectfully requests that it provide the parties a period of two weeks from the date of

the order to meet and confer regarding the terms of the notice and the notice process. See Hart v.

Barbeque Integrated, Inc., No. 2:17-cv-227-PMD, 2017 U.S. Dist. LEXIS 176755, at *20-21

(D.S.C. Oct. 25, 2017)(granting defendant’s request for 14 days to confer with plaintiffs

regarding the form of the notice and consent documents); Reynolds v. Wyndham Vacation

Resorts, Inc., No. 4:14-CV-2261-PMD, 2015 WL 8042021, at *7 (D.S.C. Dec. 4, 2015) (same).

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       Prior to reassignment of this case to Judge Coggins, Judge Currie notified the parties that

“some edits . . . would need to be made” to the proposed notice and opt-in forms should

conditional certification be granted.   (See March 30, 2018 Email Correspondence from Judge

Currie’s chambers to counsel of record, attached hereto as Ex. D). Although Judge Currie did

not communicate the substance of her preferred modifications prior to transfer, Gustech has

identified a number of edits that it would request to ensure consistency with current case law,

some of which are included in the attached, redlined Notice and Opt-In form. (See Redlined

versions of Plaintiffs’ proposed Notice and Opt-In Form which were filed as ECF Nos. 7-1 and

7-2, respectively, attached hereto as Ex. E).

       In addition to those redlined changes, Gustech would request the following modifications

to the notice procedure. First, Plaintiffs’ proposed 90-day notice period is excessive under the

circumstances. Courts in the Fourth Circuit typically authorize opt-in periods of between 30 and

60 days. See Schmidt v. Charleston Collision Holdings Corp., No. 2:14-CV-01094, 2015 WL

3767436, at *10 (D.S.C. June 17, 2015). In light of the potential size of the collective action, 45

days is more than sufficient to issue notice.

       Second, the notice does not explain to potential opt-in members the discovery obligations

to which opt-ins may be exposed, including the fact that they may be required to travel to the

District of South Carolina to be deposed and/or participate in a trial. In Schmidt, supra, the

District of South Carolina required the notice to potential opt-in plaintiffs to include the

following language:     “If you elect to join this lawsuit, you may be required to provide

information, give a deposition under oath, produce documents, respond to written interrogatories,

and/or testify in Court, including trial.” 2015 U.S. Dist. LEXIS 78324, at *25-26 (citing Byard

v. Verizon West Virginia, Inc., 287 F.R.D. 365 (N.D. W. Va. 2012)).



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       Third, Plaintiffs request unnecessary personal information from Gustech regarding the

potential collective members, specifically last known phone numbers which presumably includes

both home and mobile numbers. District courts in this circuit have required a showing of a

“special need” before requiring the disclosure of telephone numbers. Hart, 2017 U.S. Dist.

LEXIS 176755, at *20-21 (concluding that plaintiff has not shown a special need for the putative

class members' telephone numbers and ordering that defendant need only produce the putative

class members' names, dates of employment, e-mail addresses, and home addresses); Ruiz v.

Monterey of Lusby, Inc., No. DKC 13-3792, 2014 U.S. Dist. LEXIS 61791, 2014 WL 1793786,

at *3 n.1 (D. Md. May 5, 2014) (quoting Calderon v. Geico Gen. Ins. Co., No. RWT 10cv1958,

2011 U.S. Dist. LEXIS 2815, 2011 WL 98197, at *9 (D. Md. Jan. 12, 2011) (“Defendants will

not . . . be required to provide phone numbers for potential opt-in plaintiffs at this time because

Plaintiffs have made no showing of any 'special need' for the disclosure of this information.”)).

As Judge Duffy explained, “given the greater intrusion that a telephone call entails and the open-

ended nature of the resultant communication," the Court finds that Defendants need not produce

that information to Plaintiffs at this time. Schmidt, 2015 U.S. Dist. LEXIS 78324, *25-26).

       Fourth, Plaintiffs seek to provide notice by four different methods: mail, email, text

message, and postings on Plaintiffs’ counsel’s website, as well as a mail and email reminder.

(ECF No. 7, pp.13-15). This is excessive and unduly intrusive. Courts generally approve a

single method of notice, unless it has been shown that such method would not be effective. See

Koehler v. Freightquote.com, Inc., 93 F. Supp. 3d 1257 (D. Kan. 2015) (denying request that

defendant post notice when defendant would provide sufficient information to mail notice).

Plaintiffs have not demonstrated that a single method would not be successful here.




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       Finally, Plaintiffs have requested that Gustech provide the requested information only 10

business days after the Court issues its order – a short timeframe that would unduly burden

Gustech given the amount of information Plaintiffs have requested and the scope of their

proposed collective. Gustech would respectfully request a 30-day period in which to compile the

information necessary for notice.

       Accordingly, if the Court grants conditional certification, Defendant respectfully requests

that the Court provide the parties a period of two weeks from the date of the order to meet and

confer regarding the terms of the notice and the notice process.

                                         CONCLUSION

       For all of these reasons, Gustech respectfully request that Plaintiffs’ Motion be denied in

favor of additional investigation before notice can be issued.         Alternatively, if the Court

determines that issuance of notice is appropriate in this matter, Gustech respectfully requests that

the Court provide the parties a period of two weeks from the date of the order to meet and confer

regarding the terms of the notice and the notice process, because Plaintiffs’ proposals are overly

broad and unduly burdensome.

                                             Respectfully submitted,

April 30, 2018                               s/Deborah Casey Brown
                                             Deborah Casey Brown, Fed. ID No. 1507
                                             GALLIVAN, WHITE & BOYD, PA
                                             55 Beattie Place, Suite 1200
                                             P.O. Box 10589 (29603)
                                             Greenville, SC 29601
                                             Telephone: (864) 271-5346
                                             dbrown@gwblawfirm.com

                                             Gray T. Culbreath, Fed ID No. 5647
                                             Laura W. Jordan, Fed. ID No. 11398
                                             GALLIVAN, WHITE & BOYD, PA
                                             1201 Main Street, Suite 1200
                                             P.O. Box 7368 (29202)

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                               Columbia, SC 29201
                               Telephone: (803) 724-1710
                               gculbreath@gwblawfirm.com
                               ljordan@gwblawfirm.com

                               Attorneys for Defendant,
                               Gustech Communications, LLC




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